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  TROY LAW, PLLC
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  Attorney for the Plaintiffs, proposed FLSA Collective and
  potential Rule 23 Class

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------------ x
  WING KAM LI,
  on his own behalf and on behalf of others similarly
  situated,
                                               Plaintiff,                Case No. 18-cv-04614
                                   v.                                    AFFIRMATION IN SUPPORT
                                                                         OF REQUEST FOR
  KINGLY COACH, INC. d/b/a Kingly Coach; and                             CERTIFICATE OF DEFAULT
  BWJ GROUP INC.;
  SUNG AE KIM,
  ANDY MENG, and
  DAE KUN YI

                                               Defendants.
  ------------------------------------------------------------------ x

         I, John Troy, an attorney duly admitted to practice in the Eastern District of New York,

 declare under penalty of perjury:

                   1.      I am owner and managing partner at Troy Law, PLLC and attorney for

         Plaintiffs in above-entitled action. I am familiar with all the facts and circumstance in this

         action.

                   2.      I make this affirmation pursuant to Rule 55.1 of the Civil Rules for the

         Eastern District of New York, in support of Plaintiffs’ request for Clerk’s Certificate of

         Default.

                   3.      This is an action brought under the Fair Labor Standards Act and New

         York Labor Law arising from Defendants’ alleged violations and various willful and



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        unlawful employment policies, patterns and/or practices.

                  4.   This action was commenced on August 15, 2018 by filing the Complaint.

        (Dkt. No. 1)

                  5.   The Summons to the Complaint against Defendants KINGLY COACH,

        INC. d/b/a Kingly Coach; was issued on August 15, 2018. (Dkt. No. 2)

                  6.   On October 10, 2018, a copy of the Summons to the Complaint and

        Complaint was served on Corporate Defendants KINGLY COACH, INC. d/b/a Kingly

        Coach; and BWJ GROUP INC. pursuant to Rule 4(h)(1)(B) of the Federal Rules of Civil

        Procedure by delivering to and leaving a copy of the documents with Sue Zouky, an

        authorized agent in the office of the New York Secretary of State authorized to accept

        service on behalf of Corporate Defendant.

                  7.   Proof of service was file on October 12, 2018. (Dkt. Nos. 09–10). The

        time for Corporate KINGLY COACH, INC. d/b/a Kingly Coach; and BWJ GROUP INC

        to answer or otherwise move with respect to the Complaint expired November 10, 2018.

                  7.   Defendants are not incompetent.

                  8.   Defendants are not infants.

                  9.   Defendants were not in the United States Military at the time they were

        served.

        I affirm, under penalty of perjury, that the above and foregoing information is true and

 correct.

 Dated: Flushing, New York
        July 15, 2019

                                                 Respectfully submitted,
                                                 TROY LAW, PLLC




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                                           /s/ John Troy
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